                                  UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

IN RE:                                                       )       CASE NO. 14-16246
                                                             )
DEBORAH WAID                                                 )       CHAPTER 7
                                                             )
                                                             )       JUDGE: JESSICA PRICE SMITH
         Debtor                                              )

                                  TRANSMITTAL OF UNCLAIMED FUNDS

         Alan J. Treinish, Trustee of this Estate, reports the following:

Ninety days have passed since the Final Distribution was made in this case. A Stop Payment has been
issued on the following checks:

AXOS Account No. 7551500001560

1/5/22 Check No. 2012 payable to DEBORAH WAID, C/O LESLIE WEISS 198 E. AURORA RD. SR 82,
NORTHFIELD, OH 44067 in the amount of $47,962.24


 Your Trustee's Check(s) 2013 in the above total amount payable to the Clerk of the United States
Bankruptcy Court is being electronically transmitted through ACH Direct Debit this date.



Date:    April 12, 2022                                      ______/s/ Alan J. Treinish_________
                                                             ALAN J. TREINISH, Trustee




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